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5
                                   UNITED STATES DISTRICT COURT
6                                 EASTERN DISTRICT OF WASHINGTON

7        UNITED STATES OF AMERICA,
                                                   NO. CR-09-2035-EFS-1
8                         Plaintiff,                   CR-09-2035-EFS-2
9                   v.
                                                   AMENDED1 PRELIMINARY ORDER OF
10       RICKY S. WAHCHUMWAH (1) and               FORFEITURE
         VICTORIA M. JIM (2),
11
                          Defendants.
12

13
             On November 16 and December 17, 2010, a Federal Rule of Criminal
14
     Procedure 32.2 forfeiture hearing occurred in the above-captioned matter.
15
     Timothy Ohms appeared on the U.S. Attorneys Office’s (USAO) behalf.
16
     Defendants      Ricky   S.    Wahchumwah     and    Victoria     M.   Jim   were   present,
17
     represented by Adam Moore and Thomas Zeilman respectively.                             After
18
     reviewing the submitted material and relevant authority and considering
19
     ///
20
     //
21
     /
22

23            1
                  The December 28, 2010 Preliminary Order of Forfeiture (ECF No.
24   344) is amended to include a 1995 Chevrolet Suburban, an uncontested
25
     forfeiture item, as requested by the USAO’s Motion for Entry of an
26
     Amended Preliminary Order of Forfeiture (ECF No. 350).

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1    the trial and forfeiture hearing testimony,2 evidence, and oral argument,

2    the Court is fully informed and enters this preliminary forfeiture Order.

3    A.   Standard

4         Pursuant to Rule 32.2,

5         [a]s soon as practical after a verdict. . . on any count in an
          indictment or information regarding which criminal forfeiture
6         is sought, the court must determine what property is subject
          to forfeiture under the applicable statute. If the government
7         seeks forfeiture of specific property, the court must determine
          whether the government has established the requisite nexus
8         between the property and the offense. . . .
9    Fed. R. Crim. P. 32.2(b)(1)(A); see also 28 U.S.C. § 2461(c).               Here, the

10   applicable statutes are the Bald and Golden Eagle Protection Act (BGEPA),

11   16 U.S.C. § 668b(b), and Lacey Act, 16 U.S.C. § 3374(a).                    The BGEPA

12   states:

13        All bald or golden eagles, or parts, nests, or eggs thereof,
          taken, possessed, sold, purchased, bartered, offered for sale,
14        purchase, or barter, transported, exported, or imported
          contrary to the provisions of this subchapter, or of any permit
15        or regulation issued hereunder, and all guns, traps, nets, and
          other equipment, vessels, vehicles, aircraft, and other means
16        of transportation used to aid in the taking, possessing,
          selling, purchasing, bartering, offering for sale, purchase,
17        or barter, transporting, exporting, or importing of any bird,
          or part, nest, or egg thereof, in violation of this subchapter
18        or of any permit or regulation issued hereunder shall be
          subject to forfeiture to the United States.
19
     16 U.S.C. § 668b(b).      The Lacey Act similarly provides:
20
               (1) All fish or wildlife or plants imported, exported,
21        transported, sold, received, acquired, or purchased contrary
          to the provisions of section 3372 of this title (other than
22

23        2
               Defendants testified and also called Raymond Colfax, Sandra Jim,
24   Jim Wahchumwah, Jr., Donna Sohappy, Vikki Wahchumwah, and Tracy Hames.
25
     The USAO called U.S. Fish and Wildlife Service Special Agent Robert
26
     Romero.

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1         section 3372(b) of this title), or any regulation issued
          pursuant thereto, shall be subject to forfeiture to the United
2         States notwithstanding any culpability requirements for civil
          penalty assessment or criminal prosecution included in section
3         3373 of this title.

4              (2)   All vessels, vehicles, aircraft, and other equipment
          used to aid in the importing, exporting, transporting, selling,
5         receiving, acquiring, or purchasing of fish or wildlife or
          plants in a criminal violation of this chapter for which a
6         felony conviction is obtained shall be subject to forfeiture
          to the United States if (A) the owner of such vessel, vehicle,
7         aircraft, or equipment was at the time of the alleged illegal
          act a consenting party or privy thereto or in the exercise of
8         due care should have known that such vessel, vehicle, aircraft,
          or equipment would be used in a criminal violation of this
9         chapter, and (B) the violation involved the sale or purchase
          of, the offer of sale or purchase of, or the intent to sell or
10        purchase, fish or wildlife or plants.

11   16 U.S.C. § 3374(a).

12   B.   Application

13        The parties agree that all forfeiture items (FIs) identified by the

14   USAO in its Chart (ECF No. 318, attach. A) are forfeitable, except for

15   the following:     4, 17, 22, 39, 45, 46, 53, 58, 60, 61, 65, 67, and 69.

16   Also, since submitting its forfeiture chart, the USAO has withdrawn its

17   forfeiture request for FIs 17 and 67.                Accordingly, FI 17 shall be

18   returned to Raymond Colfax, and FI 67 shall be returned to Defendants.

19        The Court enters its findings as to the contested FIs in the table

20   below:

21
              FI               Description                          Court Findings
22
          4        3 full sets of bald eagle                   Not forfeited: must be
23                 tails (1 mature and 2                       returned to Defendants
                   immature)
24
          22       37 golden eagle and 8 bald                  Forfeited in part: 27
25                 eagle detached feet sets                    golden eagle feet sets
                                                               and 6 bald eagle sets
26


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1                                                             Not forfeited in part:
                                                              10 golden eagle feet sets
2                                                             and 2 bald eagle feet
                                                              sets
3
         39      Golden eagle wing set (42                    Not forfeited: must be
4                feathers from an immature                    returned to Defendants
                 golden eagle)
5
         45      Golden eagle wing set (40                    Not forfeited: must be
6                feathers from mature golden                  returned to Defendants
                 eagle)
7
         46      Golden eagle wing set (35-40                 Not forfeited: must be
8                feathers from mature golden                  returned to Defendants
                 eagle)
9        53      37 wing feathers (golden and                 Forfeited in part:    26
                 bald eagle wing feathers)                    wing feathers
10
                                                              Not forfeited: remainder
11                                                            must be returned to
                                                              Defendants
12
         58      Briefcase containing plumes                  Forfeited:   fifty percent
13
                                                              Not forfeited: fifty
14                                                            percent must be returned
                                                              to Defendants
15
         60      Blue-center bustle                           Not forfeited: must be
16                                                            returned to Defendants

17       61      Plastic Tupperware-style box                 Not forfeited: one set
                 containing tail plumes                       bound with black and
18                                                            white tape and twenty
                                                              plumes with white tape
19
                                                              Forfeited: remainder
20       65      Tail feather sets and loose                  Not forfeited: 15 golden
                 tail feathers                                eagle sets and 5 bald
21                                                            eagle sets
22                                                            Forfeited:   remainder
23       69      Orange-center bustle                         Not forfeited: must be
                                                              returned to Defendants
24

25   In summary, the Court directs forfeiture of FIs 1-3, 5-16, 18-21, 22
26   (twenty-seven golden eagle sets and six bald eagle sets), 23-38, 40-44,

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1    47-52, 53 (twenty-six wing feathers), 54-57, 58 (fifty percent of

2    plumes), 59, 61 (remainder as identified in table above), 62-64, 65

3    (remainder as identified in table above), 66, 68, and 70-78. See Fed. R.

4    Crim. P. 32.2(b)(2)(A).         The Court finds the USAO established the

5    requisite nexus between these listed FI assets, as well as the identifed

6    1995 Chevrolet Suburban (ECF No. 350) and Defendants' unlawful conduct.

7    This Order serves as the preliminary forfeiture Order and it is entered

8    “sufficiently in advance of sentencing to allow the parties to suggest
9    revisions or modifications before the order becomes final” under Rule

10   32.2(b)(4).    Id. at 32.2(b)(2)(B).

11   C.   Conclusion

12        Accordingly, IT IS HEREBY ORDERED:

13        The U.S. Attorney General or its designee is authorized to:

14        •      seize FIs 1-3, 5-16, 18-21, 22 (twenty-seven golden eagle sets

15               and six bald eagle sets), 23-38, 40-44, 47-52, 53 (twenty-six

16               wing feathers), 54-57, 58 (fifty percent of plumes), 59, 61

17               (remainder as identified in table above), 62-64, 65 (remainder

18               as identified in table above), 66, 68, 70-78;

19        •      seize the 1995 Chevrolet Suburban, Washington License Plate 258

20               XQJ, VIN#: 1GNFK16KXJ425913; and

21        •      conduct any discovery proper in identifying, locating, or

22               disposing of the property subject to forfeiture, in accordance

23               with Rule 32.2(b)(3)

24   The non-forfeited FIs must be returned to Defendants, absent FI 17, which

25   shall be returned to Raymond Colfax.

26


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1         Applicable proceedings to comply with statutes governing third party

2    rights, including giving notice of this Order, may occur.                 Notice will

3    be posted on the official government internet site (www.forfeiture.gov)

4    for at least 30 days.         Id. at 32.2(b) (incorporating Suppl. R. for

5    Admiralty     or   Maritime      Claims      and     Asset     Forfeiture      Actions

6    G(4)(a)(iv)(C)).     To the extent practicable, direct written notice may

7    also be provided to any person who reasonably appears to be a potential

8    claimant with standing to contest the forfeiture in the ancillary
9    proceeding.    Id. at 32.2(6)(A).

10        Any person, other than the above-named Defendants, asserting a legal

11   interest in the above-listed property may, within sixty days of the first

12   posting of notice, or receipt of notice, whichever is earlier, petition

13   the Court for a hearing without a jury to adjudicate the validity of his

14   alleged interest in the above-listed property, and for an amendment of

15   the Preliminary Order of forfeiture, pursuant to Rule 32.2(c) and 21

16   U.S.C. § 853(n) as incorporated by 16 U.S.C. § 668(b) and 28 U.S.C. §

17   2461.   Any petition filed by a third party asserting an interest in the

18   above-listed property shall be signed by the petitioner under penalty of

19   perjury and shall set forth the nature and extent of the petitioner's

20   right, title, or interest in said property, the time and circumstances

21   of the petitioner's acquisition of the right, title or interest in said

22   property, and any additional facts supporting the petitioner's claim and

23   the relief sought. Discovery may be conducted in accordance with the

24   Federal Rules of Civil Procedure upon a showing that such discovery is

25   necessary or desirable to resolve factual issues.                 The United States

26   shall have clear title to the above-listed property following the Court's


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1    disposition of all third-party interests, or, if none, following the

2    expiration of the period provided in Rule G(5), as incorporated by 16

3    U.S.C. § 668(b) and 28 U.S.C. § 2461, for the filing of third-party

4    petitions.

5          Pursuant to Rule 32.2(b)(4), this Preliminary Order of Forfeiture

6    is final as to Defendants at the time of sentencing, or at any time

7    before sentencing if Defendants consent, and is made part of the sentence

8    and included in the judgment.           The Court retains jurisdiction to enforce
9    this Order, and to amend it as necessary, pursuant to Rule 32.2(e).

10         IT IS SO ORDERED. The District Court Executive is directed to enter

11   this Order and to provide a copy to counsel and the U.S. Probation

12   Office.

13         DATED this 25th         day of January 2011.

14

15                                    S/ Edward F. Shea
                                        EDWARD F. SHEA
16                               United States District Judge

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